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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 IRISH GUMBA,                                     §
       Plaintiff,                                 §
                                                  §
 v.                                               §      CIVIL ACTION NO. 4:22-cv-1509
                                                  §
 LAKEVIEW LOAN SERVICING, LLC,                    §
     Defendant.                                   §



                                 JOINT STIPULATION OF DISMISSAL

         Plaintiff Irish Gumba (“Plaintiff”) and Defendant Lakeview Loan Servicing, LLC, its

successors and assigns (“Defendant”) (“collectively the “Parties”), by and through their

undersigned counsel, hereby stipulate and agree that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), all claims and causes of action asserted or could have been asserted by Plaintiff

against Defendant are hereby dismissed with prejudice, pursuant to the Parties’ agreement.




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                                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of June 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA E-Service: clay@viltlaw.com
Robert C. Vilt, Esq.
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Attorney for Plaintiff


                                                       /s/ R. Matthew Graham
                                                      R. Matthew Graham




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